

125 Church St. Co. v Feldman Heritage, LLC (2022 NY Slip Op 00804)





125 Church St. Co. v Feldman Heritage, LLC


2022 NY Slip Op 00804


Decided on February 08, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 08, 2022

Before: Manzanet-Daniels, J.P., Oing, González, Shulman, Higgitt, JJ. 


Index No. 650769/14 Appeal No. 15268 Case No. 2020-04214 

[*1]125 Church Street Company Formerly Known as 125 Church Street Development Company, Plaintiff-Appellant,
vFeldman Heritage, LLC, Defendant. Tribeca Space Managers, Inc., Nonparty Respondent.


Meltzer, Lippe, Goldstein &amp; Breitstone, LLP, Mineola (Jason K. Blasberg and Loretta M. Gastwirth of counsel), for appellant.
Rivkin Radler LLP, New York (Evan Schieber of counsel), for respondent.



Amended order, Supreme Court, New York County (Andrea Masley, J.), entered on or about May 12, 2020, which granted Tribeca Space Managers, Inc.'s motion to intervene, unanimously affirmed, with costs.
The motion court providently exercised its discretion in granting the motion of nonparty Tribeca Space Managers, Inc., the board of managers of the condominium at 25 Murray Street that is adjacent to and shares a lobby and a temporary certificate of occupancy with plaintiff 125 Church Street, to intervene for the purpose of filing a pleading asserting claims seeking limited relief to the extent this action may affect its interests in the shared temporary certificate of occupancy (see Yuppie Puppy Pet Prods., Inc. v Street Smart Realty, LLC, 77 AD3d 197 [1st Dept 2010]; Ironshore Indem., Inc. v W&amp;W Glass, LLC, 151 AD3d 511 [1st Dept 2017], lv denied 30 NY3d 909 [2018]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 8, 2022








